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           EXHIBIT A-51
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             DISTRICT OF COLUMBIA COURT OF APPEALS
             BOARD ON PROFESSIONAL RESPONSIBILITY
               HEARING COMMITTEE NUMBER TWELVE
                                                                            Oct 3 2022 3:29pm

_______________________________
In the Matter of                    :        Board No. 22-BD-039
                                    :
JEFFREY B. CLARK, ESQUIRE :                  Disciplinary Docket No. 2021-D193
                                    :
      Respondent,                   :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:

              STATEMENT CONCERNING HEARING DATES

      By Order dated September 29, 2022, the Hearing Committee directed the

parties to meet and confer about their availability for a hearing on November 14-18,

December 6-9, or December 12-16, 2022. If those dates are not available, the parties

were directed to make reasonable efforts to agree on hearing dates reasonably close

to the above dates.

      Disciplinary Counsel is unavailable on any of the suggested dates. Two

important witnesses, one of whom is not within subpoena range, are unavailable on

the November dates. Disciplinary Counsel has already scheduled a hearing in In re

Giuliani on the December dates. As of yet, all the witnesses have not responded to

inquiries as their availability on alternative dates, but Disciplinary Counsel
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anticipates having that information available by the October 6th pre-hearing

conference.

      Respondent takes the position, set forth in the attached document, that it is

premature to set a hearing date and that the earliest possible date is sometime in

January.

      Accordingly, it will be necessary to determine the hearing date at the pre-

hearing conference on October 6, 2022.

                                     Respectfully submitted,

                                     Hamilton P. Fox, III
                                     ______________________________
                                     Hamilton P. Fox, III
                                     Disciplinary Counsel


                                     /s/ Jason R. Horrell
                                     Jason R. Horrell
                                     Assistant Disciplinary Counsel

                                     OFFICE OF DISCIPLINARY COUNSEL
                                     515 Fifth Street, N.W.
                                     Building A, Room 117
                                     Washington, D.C. 20001
                                     (202) 638-1501




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                       CERTIFICATE OF SERVICE

     I hereby certify that on this 3rd day of October 2022, I caused a copy of the

foregoing Statement Concerning Hearing Dates to be served on the Board of

Professional Responsibility c/o Case Managers to casemanagers@dcbpr.org and to

Respondent’s counsels via email to Harry W. MacDougald, Esquire, to

hmacdougald@CCEDlaw.com,          to         Charles   Burnham,       Esquire,    to

charles@burnhamgorokhov.com,       and        Robert   A.   Destro,    Esquire,   to

Robert.destro@protonmail.com.


                                               Hamilton P. Fox, III
                                               ______________________________
                                               Hamilton P. Fox, III




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1. Choice of hearing dates

      Respondent suggests that it is premature to set a hearing date. This is for several
      reasons set out below. In order to be responsive to the Chair’s order, however,
      Respondent predicts that the earliest possible hearing date would be the middle
      of January 2023, though even that is likely overly optimistic.

      The reasons we are unable to agree to one of the specific hearing dates proposed
      are as follows:

      A.     Respondent is exploring options to seek judicial review of the Chair’s
      decision to hold a hearing before it is definitively established that the Board of
      Professional Responsibility and its sub-units have the jurisdiction to hold such a
      hearing under the circumstances of this case, and for this case to be held in
      abeyance pending the resolution of such a judicial review action. Relatedly, we
      have asked Mr. Fox to consent to such an approach and he has declined. At the
      Thursday hearing, we intend on Respondent’s behalf to ask the Hearing
      Committee or the Board if necessary to join us in moving a court to review the
      threshold jurisdictional issue.

      Taking due note of the Committee Chair’s ruling on September 29, 2022 that he
      did not have authority under the Board Rules and the precedents of the District
      of Columbia Court of Appeals to rule on Respondent’s motion to dismiss, but
      was instead required to include a report and recommendation thereon after the
      evidentiary hearing, Respondent respectfully notes there is a substantial subject
      matter jurisdiction question in this case, that the Board’s Rules do not
      contemplate such challenges, that in federal courts subject matter jurisdiction is a
      threshold matter that must be decided first before hearing the merits of a case,
      and that the DCCA follows this rule, as it must. See Ruhrgas AG v. Marathon Oil
      Co., 526 U.S. 574 (1999) (threshold jurisdictional questions must be resolved
      before merits); Steel Co. v. Citizens for Better Env’t, 523 U. S. 83, 94-95 (1998)
      (requirement to establish subject matter jurisdiction as a threshold matter
      “inflexible and without exception”); UMC Dev. LLC v. District of Columbia, 120
      A.2d. 37, 42 (2015 (standing is a subject matter jurisdiction question that “is a


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threshold jurisdictional question which must be addressed prior to and
independently of the merits of a party’s claim.”). As noted, Disciplinary Counsel
declined to join Respondent in seeking judicial review of this issue.

B.     Despite uncertainties as to the scope of Disciplinary Counsel’s evidence
and therefore of what evidence should be presented in response, Respondent
anticipates seeking the testimony of one or more former employees of the
Department of Justice. This introduces two forms of delay of uncertain duration.

       1) First, one or more of these former employees resides outside the
          territorial reach of a subpoena from the Board. Therefore, Respondent
          will be required to initiate proceedings to secure their testimony, if
          such procedures are available. These procedures require proceedings
          both in the forum jurisdiction and the jurisdiction where the witness
          resides.

       2) Second, the Department of Justice must review and approve any such
          subpoena for testimony under DOJ’s Touhy regulations, found at 28
          C.F.R. §§ 16.21 et seq. Respondent does not know how long either of
          these two steps would take, nor their outcome.

Respondent thus suggests, even assuming no judicial review process to resolve
the threshold jurisdictional process will occur, it would not be possible to hold
the hearing any earlier than the middle of January to allow a reasonable period
in which these two procedural sources of delay could be completed.

C. Respondent intends to seek discovery, including both propounding
subpoenas to DOJ and seeking witness depositions. This could introduce
additional delay and require an even later hearing date. Mr. Fox’s position may
be that it is too late to seek discovery, and we have asked him why that is so, but
his response is unclear, so that will be a topic of dispute at the Thursday hearing.

D. When Respondent moved to defer the Committee’s evidentiary hearing in this
case, it was expected that the January 6 Committee would not complete its work,
or release a final report, or release full deposition transcripts until after the
November 2022 election. More recently, however, and only after the motion to
defer was denied by the Board Chair, the Committee has announced that its final
report will be issued before the November election. This raises the prospect that
full deposition transcripts will be issued around the time of the final report.




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      The full report, the full transcripts, and any documentary evidence released by
      the January 6 Committee are likely to reveal relevant evidence and testimony
      that are presently either unknown or unavailable to the Respondent. Respondent
      anticipates that exculpatory evidence and testimony will then become known,
      and that he may want to present them in this case.1

      Disciplinary Counsel has kindly indicated that he intends to call Jeffrey Rosen
      and Richard Donoghue, and perhaps Ken Klukowski, though he reserves the
      right to call other witnesses. All three gave deposition testimony to the January 6
      Committee, but only narrow excerpts of their testimony have been publicly
      released. Mr. Klukowski issued a public statement through counsel that the
      January 6 Committee had misrepresented his deposition testimony and
      documents to falsely inculpate him and the Respondent. To have a fair trial, the
      hearing should be pushed back so that Respondent can have access to the full
      transcripts and to potentially exculpatory evidence, or evidence with which to
      impeach the witnesses against him.

2. Dates for submission of Documents, witnesses, motion to present testimony remotely.

      Respondent suggests the following:

      Witness list and list of Exhibits: 30 days before the hearing.

      Stipulations: 21 days before the hearing, with leave to adopt additional
      stipulations if the parties agree.

      Motions to Present Testimony Remotely: 21 days before the hearing.

      Other filings, Motions in Limine, etc.: 14 days before the hearing, with responses
      due 7 days later.




1 To be clear, Respondent is not arguing that the Committee’s report would be

admissible here, especially because it was prepared without appropriate legal
safeguards to Respondent, such as transparency, the ability of de facto targets of the
Committee like the Respondent to confront witnesses and cross examine them, as well
as the Committee exceeding important limits on its power under the terms of the
relevant House procedures, as well as other legal defects. Respondent is arguing that
the transcripts may contain admissions or reveal new information presently unknown.




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